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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT
                            SHERMAN DIVISION



 STATE OF TEXAS,                       §              Civil Action No. 4:24-cv-499-SDJ
                                       §                      LEAD CASE
 Plaintiff,                            §
                                       §
 PLANO CHAMBER OF                      §              Civil Action No. 4:24-cv-468-SDJ
 COMMERCE, et al.,                     §
                                       §
 Plaintiffs,                           §
                                       §
 v.                                    §
                                       §
 UNITED STATES DEPARTMENT              §
 OF LABOR, et al.,                     §
                                       §
 Defendants.                           §


       PLAINTIFFS PLANO CHAMBER OF COMMERCE ET AL.’S MOTION FOR
           EXPEDITED SUMMARY JUDGMENT AND BRIEF IN SUPPORT




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            BUSINESS PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
                        (ORAL ARGUMENT REQUESTED)

        Business Plaintiffs, a broad coalition of Texas and national trade associations and

 employers, 1 hereby move for summary judgment on all counts of their Complaint challenging the

 U.S. Department of Labor (“DOL” or the “Department”)’s rule “Defining and Delimiting the

 Exemptions for Executive, Administrative, Professional, Outside Sales and Computer

 Employees,” 89 Fed. Reg. 32842 (April 26, 2024) (the “2024 Overtime Rule” or “2024 Rule”).

 The Business Plaintiffs ask this Court to declare that the 2024 Rule violates the Administrative

 Procedure Act (“APA”), 5 U.S.C. §§ 500 et seq., because it exceeds DOL’s statutory authority

 under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et seq., and is arbitrary and

 capricious. The Business Plaintiffs further ask the Court to vacate the 2024 Rule pursuant to

 Section 706 of the APA, 5 U.S.C. § 706(2), and/or permanently enjoin enforcement of the 2024

 Rule by the Department on a nationwide basis.

                BRIEF IN SUPPORT OF BUSINESS PLAINTIFFS’ MOTION

                                         INTRODUCTION

        On June 28, 2024, this Court preliminarily enjoined the Department from enforcing the

 2024 Rule against Plaintiff State of Texas (“Texas”) in its capacity as an employer under the FLSA.

 ECF No. 28 (slip op.). In so doing, the Court held that Texas had established a likelihood of success

 on the merits of its claim that in promulgating the 2024 Rule, the Department exceeded its statutory


 1
   The Business Plaintiffs, as identified in their Complaint, are Plano Chamber of Commerce,
 American Hotel and Lodging Association (“AHLA”), Associated Builders and Contractors
 (“ABC”), International Franchise Association (“IFA”), National Association of Convenience
 Stores (“NACS”), National Association of Home Builders (“NAHB”), National Association of
 Wholesaler-Distributors (“NAW”), National Federation of Independent Business, Inc. (“NFIB”),
 National Retail Federation (“NRF”), Restaurant Law Center (“RLC”), Texas Restaurant
 Association (“TRA”), Cooper General Contractors, and DASE Blinds. Plano Chamber of
 Commerce v. Su, Case No. 4:24-cv-468, ECF No. 1. Where material to distinguish, those Business
 Plaintiffs that are trade associations are identified as the “Trade Association Business Plaintiffs.”
                                                  1
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 authority to define and delimit the FLSA’s executive administrative, and professional (“EAP”)

 overtime exemption (commonly referred to as the “white-collar overtime exemption”). Slip op. at

 20. The Business Plaintiffs have brought a materially identical claim that the 2024 Rule exceeds

 DOL’s statutory authority and is arbitrary and capricious in contravention of the APA, see Compl.

 ¶¶ 47-55 (Plano Chamber of Commerce v. Su, 4:24-cv-468, ECF No. 1 (May 22, 2024)). As further

 shown below, the 2024 Rule is causing irreparable injury to the hundreds of thousands of

 businesses represented by the Business Plaintiffs, not only in Texas but nationwide, and therefore

 they are entitled to nationwide relief under Section 706 of the APA.

                                         BACKGROUND

        In 2017, this Court permanently enjoined a strikingly similar regulation (the “2016

 Overtime Rule” or “2016 Rule”) which attempted to dramatically raise the minimum salary

 required for the white-collar overtime exemption, and declared unlawful DOL’s attempt to

 automatically increase the salary threshold on a triennial basis thereafter. See Nevada v. U.S. Dep’t

 of Labor, 218 F. Supp. 3d 520 (E.D. Tex. 2016) (preliminarily enjoining 2016 Rule) (Nevada I);

 Nevada v. U.S. Dep’t of Labor, 275 F. Supp. 3d 795 (E.D. Tex. 2017) (permanently invalidating

 2016 Rule) (Nevada II). Among other things, the Nevada Court found that “the Department’s

 authority is limited by the plain meaning of the words in the [FLSA] and Congress’s intent.” 275

 F. Supp. 3d. at 805. Accordingly, this Court prohibited the Department from increasing the

 minimum salary for exemption to a level that “essentially make[s] an employee’s duties, functions,

 or tasks irrelevant if the employee’s salary falls below the new minimum salary level.” Id. at 806.

 The Court specifically found unlawful the Department’s attempt to “make salary rather than an

 employee’s duties determinative of whether a ‘bona fide executive, administrative, or professional

 capacity employee’ should be exempt from overtime pay.” Id. at 807. Finally, the Nevada Court



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 struck down the Rule’s automatic indexing of the threshold without notice or comment as required

 by law. Id. at 808.

        In granting the Preliminary Injunction in the present case, this Court came to exactly the

 same conclusion regarding the 2024 Overtime Rule: “As was true of the 2016 Rule, the salary

 level thresholds imposed under the 2024 Rule ‘effectively eliminate’ consideration of whether an

 employee performs ‘bona fide executive, administrative, or professional capacity’ duties in favor

 of what amounts to a salary-only test.” Slip op. at 25. Insofar as the 2024 Rule “make[s] salary

 predominate over duties for millions of employees, the changes exceed the authority delegated by

 Congress to define and delimit the relevant terms.” Id. at 26. The Court readily concluded that

 Texas was likely to succeed on its claim that the 2024 Rule exceeded DOL’s statutory authority

 under the FLSA, and enjoined its enforcement against Texas. Id. at 35.

        The Business Plaintiffs now request that the Court take the necessary further action of

 granting summary judgment in order to prevent the unlawful 2024 Overtime Rule from causing

 irreparable harm to hundreds of thousands of employers nationwide whom the Trade Association

 Business Plaintiffs represent, along with the individual Texas businesses identified in their

 Complaint. Absent such relief, as of January 1, 2025, the 2024 Overtime Rule will increase the

 minimum annual EAP salary threshold from the prior $35,568 to $58,656, an increase of 65%. See

 89 Fed. Reg. 32971 (29 C.F.R. § 541.600). It likewise will increase the minimum salary for

 exempting “highly compensated employees” (“HCEs”) 2 from $107,432 to $151,164 as of January

 1, 2025 (a 41% increase over the prior HCE threshold). Id.at 32972 (29 C.F.R. § 541.601). 3 These



 2
   Under the highly compensated employee exemption, an employee is deemed exempt if they earn
 a specified, higher level of compensation; are paid on a salary basis; and customarily and regularly
 perform at least one exempt duty or responsibility of an exempt EAP employee.
 3
   The new Rule has already increased the EAP threshold from the current $35,568 annually to
 $43,888 effective July 1, 2024, with the full 65% increase to $58,656 becoming effective on
                                                  3
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 changes are not merely a matter of degree. Rather, they fundamentally alter the focus of the

 exemption analysis, shifting the test from one focused primarily on the job functions identified by

 Congress in the FLSA to one that turns almost entirely on a salary threshold that is not a plausible

 proxy for those statutorily defined job functions. And by automatically adjusting the salary

 threshold every three years in perpetuity, the 2024 Rule ensures that this disconnect will only grow

 greater over time.

        The 2024 Rule’s EAP salary thresholds far exceed the limits of the statutory authority

 recognized first by the Nevada Court and again by this Court. 4 Moreover, DOL has failed to

 adequately justify the dramatic change in policy embodied in the Rule, failed to take into account

 the strong reliance interests of the regulated community, and failed to meaningfully consider

 reasonable alternatives, all in violation of the APA. For each of these reasons the Court should

 grant summary judgment in favor of Plaintiffs on each of their claims.

                                    STATEMENT OF ISSUES

        I.      Whether the 2024 Overtime Rule’s minimum salary threshold exceeds the

 Department’s statutory authority under the FLSA in violation of the APA.




 January 1, 2025. 89 Fed. Reg. 32971, 29 CFR 541.600. The threshold will then increase
 automatically as of July 1, 2027, and every three years thereafter. See 29 C.F.R. 541.607. It also
 first raised the HCE threshold from $107,432 to $132,964 effective July 1, 2024, with the full 41%
 increase to $151,164 effective January 1, 2025, and indexed every three years thereafter. 29 C.F.R.
 541.601, 607.
 4
   Indeed, as further discussed herein, the Fifth Circuit is presently considering whether the FLSA
 authorizes any minimum salary thresholds at all. See Mayfield v. U.S. Dept. of Labor, No. 23-
 50724 (5th Cir.) (appeal pending, briefing completed); see also Helix Energy Solutions Group,
 Inc. v. Hewitt, 598 U.S. 39, 67 (2023) Kavanaugh, J. dissenting) (“The [FLSA] focuses on whether
 the employee performs executive duties, not how much an employee is paid or how an employee
 is paid. So it is questionable whether the Department’s regulations—which look not only at an
 employee’s duties but also at how much an employee is paid and how an employee is paid—will
 survive if and when the regulations are challenged as inconsistent with the Act.”).
                                                  4
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          II.    Whether the 2024 Overtime Rule’s automatic indexing provision exceeds the

 Department’s statutory authority under the FLSA in violation of the APA.

         III.    Whether the 2024 Overtime Rule is arbitrary, capricious, or otherwise contrary to

 law in violation of the APA.

          IV.    Whether the Court should set aside and/or enjoin the 2024 Overtime Rule on a

 nationwide basis or at least with regard to the Business Plaintiffs’ members nationwide.

                     STATEMENT OF UNDISPUTED MATERIAL FACTS

          1.     The FLSA generally requires covered employers to pay their employees at least the

 federal minimum wage (currently $7.25 per hour) for all hours worked, and requires overtime pay

 to nonexempt employees at one and one-half an employee’s regular rate of pay for all hours worked

 over 40 in a workweek. See 29 U.S.C. § 206 (minimum wage), § 207 (overtime).

          2.     Among many other exemptions from the minimum wage and/or overtime

 requirements, Congress created the EAP exemption for “any employee employed in a bona fide

 executive, administrative, or professional capacity … as such terms are defined and delimited from

 time to time by regulations of the Secretary, subject to the provisions of [the APA].” 29 U.S.C.

 § 213(a)(1). Congress did not make reference to any minimum salary test to further restrict the

 EAP exemption.

          3.     As this Court in the Nevada case observed when it struck down the 2016 Overtime

 Rule:

          Congress unambiguously intended the exemption to apply to employees who
          perform ‘bona fide executive, administrative, or professional capacity’ duties . . . .
          Specifically, the Department’s authority is limited to determining the essential
          qualities of, precise signification of, or marking the limits of those “bona fide
          executive, administrative, or professional capacity” employees who perform
          exempt duties and should be exempt from overtime pay. With this said, the
          Department does not have the authority to use a salary-level test that will effectively
          eliminate the duties test as prescribed by Section 213(a)(1) . . . . Nor does the
          Department have the authority to categorically exclude those who perform “bona
                                                    5
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        fide executive administrative, or professional capacity” duties based on salary
        level alone. In fact, the Department admits, “the Secretary does not have the
        authority under the FLSA to adopt a ‘salary only’ test for exemption.”

 Nevada II, 275 F. Supp. 3d at 805-06 (emphasis added).

        4.      This Court in Nevada rightly found the Department’s longstanding policy requires

 the minimum salary level to be used only as a floor to “screen[] out the obviously nonexempt

 employees, making an analysis of duties in such cases unnecessary.” Nevada II, 275 F. Supp. 3d

 at 806 (citing Harry Weiss, Report and Recommendations on Proposed Revisions of Regulations,

 Part 541, at 7-8 (1949)), and held that “any new figure recommended should also be somewhere

 near the lower end of the range of prevailing salaries for these employees.” Id. (citing Weiss, at

 11-12). 5 Based upon the foregoing legal analysis, the Nevada II Court found that it was unlawful

 for the Department to increase the minimum salary level from $455 per week ($23,660 annually)

 to $913 per week ($47,476 annually). The Nevada Court took particular note that “entire categories

 of previously exempt employees who perform bona fide executive, administrative, or professional

 capacity duties would now qualify for the EAP exemption based on salary alone.” 275 F. Supp. 3d

 at 806 (citing 2016 Rule’s estimate that 4.2 million workers would have lost their exempt status

 solely because of the increased salary threshold).

        5.      In 2019, after notice-and-comment rulemaking, the Department issued a new

 regulation, raising the EAP salary threshold to $35,568 and the HCE threshold to $107,432. See



 5
   Consistent with this holding, between 1940 and 2019, DOL has with few exceptions set the
 minimum salary level for exemption by studying the salaries actually paid to exempt employees
 and setting the minimum salary at no higher than the 20th percentile in the lowest-wage regions,
 the smallest size establishment groups, the smallest-sized cities, and lowest-wage industries. See
 “Defining and Delimiting the Exemptions for Executive, Administrative, Professional, Outside
 Sales and Computer Employees,” 84 Fed. Reg. 51230, 51235-37 (Sept. 27, 2019) (detailing
 historic development and application of salary test methodology). The unlawful 2016 Rule sought
 to set the minimum EAP salary at the 40th percentile of earnings of full-time salaried workers in
 the lowest wage Census region (the South).
                                                  6
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 “Defining and Delimiting the Exemptions for Executive, Administrative, Professional, Outside

 Sales and Computer Employees,” 84 Fed. Reg. 51230 (Sept. 27, 2019) (the “2019 Rule”). The

 2019 Rule used the identical methodology used in the 2004 Rule, setting the threshold at the 20th

 percentile of full-time salaried workers in the lowest-wage census region (the South) and/or in the

 retail industry nationally using current data.6

        6.      Notwithstanding the statutory mandate, longstanding regulatory precedent, and

 prior decisions of this Court, on April 26, 2024, DOL published the 2024 Overtime Rule. Just as

 the invalidated 2016 Overtime Rule purported to do, the 2024 Rule establishes a minimum salary

 test that will exclude from the white-collar exemption millions of currently exempt EAP workers.

 This time, the Department has adopted, without a rational basis, a minimum salary set at the 35th

 percentile of all salaried workers in the southern census region (which includes Maryland, the

 District of Columbia, and Virginia, three of the top ten median income states). Under the 2024

 Rule, effective January 1, 2025, the minimum salary for exempt employees will increase 65

 percent, from the prior $684 per week to $1,128 per week ($35,568 to $58,656, annualized). See

 89 Fed. Reg. at 32971.

        7.      At $1,128 per week, the new minimum salary level will defeat the exemption for

 more than four million individuals who would be classified as exempt bona fide EAP employees

 on the basis of their duties. Just as in the 2016 Rule, the Department’s new salary threshold is so

 high that it is no longer a plausible proxy for delimiting which jobs fall within the statutory terms

 “executive,” “administrative,” or “professional.” The 2024 Overtime Rule thus contradicts the




 6
   That increase was nevertheless challenged in Mayfield v. U.S. Dep’t of Labor, No. 23-59724 (5th
 Cir.) (appeal pending, briefing completed), on the ground that the statute does not authorize any
 minimum salary threshold for EAP exemption. The district court declined to enjoin the rule under
 the precedent of Wirtz, and the appeal from that decision is pending before the Fifth Circuit.
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 congressional requirement to exempt such individuals from the minimum wage and overtime

 requirements of the FLSA.

         8.      As noted above, the 2024 Rule also establishes an indexing provision, which

 automatically sets in motion an update to the minimum salary requirements to even higher levels

 every three years. 89 Fed. Reg. 32973 (29 C.F.R.§ 541.607). The Rule’s automatic indexing will

 cause the salary threshold to even further depart from any meaningful approximation of the terms

 “executive,” “administrative,” and “professional” within a short period of time, without any notice

 or comment requirement.

         9.      There is no basis to conclude that Congress authorized DOL to index the EAP

 salary level test under Section 213(a)(1). Congress has provided for automatic indexing in

 numerous other statutes, such as cost of living increases for Social Security benefits in the Social

 Security Act, P.L. 106-554. But in the 80+ year history of the FLSA, Congress has never provided

 for automatic increases of the minimum wage. Congress also has never indexed the minimum

 hourly wage for exempt computer employees under 29 U.S.C. § 213(a)(17), the tip credit wage

 under 29 U.S.C. § 203(m), or any of the alternative wage thresholds in the FLSA. Most important,

 Congress has never indexed the minimum salary threshold for the white-collar exemption.

         10.     Likewise, there is no precedent for indexing the minimum salary threshold in the

 regulatory history of Part 541. In its 2004 rulemaking, the DOL rejected indexing as contrary to

 congressional intent and as disproportionately affecting lower-wage geographic regions and

 industries, stating:

         [T]he Department finds nothing in the legislative or regulatory history that would
         support indexing or automatic increases. Although an automatic indexing
         mechanism has been adopted under some other statutes, Congress has not adopted
         indexing for the Fair Labor Standards Act . . . . The Department believes that
         adopting such approaches in this rulemaking is both contrary to congressional
         intent and inappropriate.

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 69 Fed. Reg. at 22171-72 (emphasis added).

        11.     DOL projects that in the first year the rule is effective, more than four million

 employees across the country will lose their exempt status. See 89 Fed. Reg. at 32900 Table 4. By

 Year 10, because of the automatic increases to the minimum salary level, DOL predicts that almost

 6 million employees will have lost their exempt status. Id. 7 Similarly, by Year 10, the Rule will

 have imposed a cost of almost $3.4 billion on employers. Id.

        12.     On June 28, 2024, this Court concluded that Texas was likely to succeed on the

 merits of its claim that the 2024 Rule exceeds the Department’s statutory authority under the

 FLSA. Slip op at 26. Specifically, this Court held that the 2024 Rule “effectively displace[s] the

 FLSA’s duties test with a predominant, if not exclusive salary-level test.” Slip op. at 21. Explaining

 further, this Court noted that “a Department-invented test, untethered to the text of the FLSA, that

 systematically deprives employees of the EAP exemption when they otherwise meet the FLSA’s

 duties test, is necessarily unlawful.” Id. at 25. “By any measure, a salary requirement that

 effectively displaces the only EAP exemption test authorized by statutory text, i.e., the duties test,

 flatly contravenes the Department’s authority under the FLSA.” Id. at 21.

        13.     Many of the Trade Association Business Plaintiffs challenging the 2024 Overtime

 Rule were plaintiffs in the successful challenge of the 2016 Rule, and again have brought their

 claims on behalf of their members and on behalf of themselves as employers under the FLSA. See

 Compl. ¶¶ 7-17. In Nevada II, the court specifically found that these and other similarly situated

 business associations and their members “would incur significant payroll, accounting, and legal

 costs to comply with the Final Rule, both before and after its effective date” and an increase in the



 7
  These numbers are closely proximate to the number of employees whom the Nevada Court found
 would unlawfully be deprived of their exempt status in 2017.
                                                   9
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 salary threshold “would affect how [the associations] and their members manage executive,

 administrative, and professional capacity employees who now qualify for overtime pay.” 275 F.

 Supp. 3d at 800. As such, the Trade Association Business Plaintiffs have associational standing to

 bring a claim on behalf of their members (“It is clear the Final Rule directly affects both Business

 Plaintiffs and the employers they represent.”). Id.

        14.     In their public comments opposing the 2024 Rule and in numerous declarations

 attached to this Motion, the Trade Association Business Plaintiffs have established that hundreds

 of thousands of their members—in Texas and nationwide—will suffer (and already are suffering)

 injury and irreparable harm from the Rule. Such harm consists of increased costs they will suffer

 under the Rule, including required minimum wage and overtime wages for exempt employees who

 will be converted to non-exempt status; the costs of foregone labor by employees reclassified as

 non-exempt and whose hours may now be limited so as to avoid overtime payment; and substantial

 legal, accounting and other costs as they modify their businesses to comply and to account for

 those risks. See, e.g., Exhibit 1, Declaration of Chirag Shah ¶¶ 7-13 (on behalf of AHLA and its

 64,000+ hotel member properties) & Ex. A (explaining harm to identified AHLA member);

 Exhibit 2, Declaration of Ben Brubeck ¶¶ 4-8 (on behalf of ABC and its 23,000+ construction

 industry employer members) & ¶4 (noting harm to identified ABC member); Exhibit 3,

 Declaration of Sarah Davies ¶¶ 5-9 (on behalf of IFA and its 10,000+ franchise business owner

 members) & Exs. A-I (detailing harm to identified IFA members); Exhibit 4, Declaration of Doug

 Kantor ¶¶ 4-7 (on behalf of NACS and its 2,900+ employer members) & Exs. A-B (setting forth

 harm to identified NACS members); Exhibit 5, Declaration of Bradley Mannion ¶¶ 7-11 (on behalf

 of NAHB and its more than 140,000 members); Exhibit 6, Declaration of Brian Wild ¶¶ 12-15 (on

 behalf of NAW and 35,000 member companies) & ¶13 (identifying individual harmed NAW



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 member); Exhibit 7, Declaration of Elizabeth Milito ¶¶ 4-7 (on behalf of NFIB and its more than

 300,000 member companies) & Ex. A (demonstrating harm to identified NFIB member); Exhibit

 8, Declaration of David French ¶¶ 4-6 (on behalf of NRF and the 3.8 million retail establishment

 members it represents); Exhibit 9, Declaration of Angelo Amador ¶¶ 16-25 (on behalf of RLC and

 its 44,000+ members, including harm caused to identified RLC members); Exhibit 10, Declaration

 of Kelle Marsalis ¶¶ 4-6 (on behalf of 1,100+ members of Plano Chamber of Commerce,

 explaining harm of 2024 Rule). See also Comments filed in the Administrative Record, discussed

 further below and attached to Trade Association Business Plaintiffs’ declarations.

        15.     The Department has conceded and the costs set forth in the Rule, which include

 compliance costs, regulatory familiarization costs, and management costs, as well as the costs of

 increased salaries, overtime pay, or foregone labor. See 2024 Rule, 89 Fed. Reg. at 32908

 (discussing familiarization costs), 32910 (discussing workforce management and reclassification

 costs). This Court has already rejected DOL’s arguments that such costs are “de minimis,” even

 as to the smaller portion of costs imposed on Texas alone. 8

        16.     In any event, the undisputed direct costs found by the Court with regard to Texas

 alone are dwarfed by the costs the Rule will inflict in Year One on the Business Plaintiffs’ members

 nationwide. The Department estimates that in that first year alone, private-sector employes will

 face more than $1.4 billion in compliance costs and $1.5 billion in payroll increases, with almost

 3.9 million private-sector employees affected by the 2024 Rule. See 89 Fed. Reg. 32900 Table 4.

 Inasmuch as the Business Trade Association Plaintiffs collectively represent hundreds of




 8
   The Court properly found that in its first year alone the 2024 Rule imposed $98.8 million in
 increased payroll costs and $98.9 million in compliance costs on state and local governments, and
 that some portion of these costs—even if not immediately clear how much—would be imposed on
 Texas. Slip Op. at 27.
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 thousands of employers who employ the bulk of those 3.9 million employees nationwide, it is

 mathematically impossible to claim that the unrecoverable costs to the Business Plaintiffs and their

 trade association members are trivial or “de minimis.”

                           STANDING AND IRREPARABLE HARM

        The Business Plaintiffs are effectively the object of regulation under the 2024 Rule, and as

 such, will be directly injured by the Rule, both as trade association representatives of hundreds of

 thousands of businesses nationwide and/or as organizations themselves employing exempt

 employees impacted by the Rule. See, e.g., Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779

 F.3d 258, 264 (5th Cir. 2015) (“If a plaintiff is an object of a regulation there is ordinarily little

 question that the action or inaction has caused him injury, and that a judgment preventing or

 requiring the action will redress it.”) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561–62

 (1992)). The harms incurred by the Business Plaintiffs and their members are even greater than

 the harms incurred by Texas alone, which this Court has already found to be irreparable and

 unrecoverable compliance and increased payroll costs of the 2024 Rule. Slip Op. at 27. Those

 harms are greatly magnified due to their impact on the hundreds of thousands of employers

 represented by the Trade Association Business Plaintiffs. See Undisputed Facts, ¶14 supra.

        The Trade Association Business Plaintiffs have associational standing to bring a challenge

 insofar as their members have standing to sue in their own right due to increased costs they will

 suffer under the Rule, including required minimum wage and overtime wages for exempt

 employees who will be converted to non-exempt status; the costs of foregone labor by employees

 reclassified as non-exempt and whose hours may now be limited so as to avoid overtime payment;

 and substantial legal, accounting and other costs as they modify their businesses to comply and to

 account for those risks. See Statement of Undisputed Facts ¶ 14 supra (citing declarations



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 establishing harms of 2024 Rule to hundreds of thousands of Trade Association Business

 Plaintiffs’ members).

        The 2024 Rule conflicts with each Trade Association Business Plaintiffs’ policy objectives;

 challenging the Rule is germane to each association’s purpose; and neither the claims asserted nor

 the relief requested requires the associations’ individual members to participate, as this Complaint

 raises questions of law based solely on the Administrative Record. Accordingly, the Trade

 Association Business Plaintiffs each have associational standing. See Hunt v. Washington State

 Apple Advertising Commission, 432 U.S. 333, 343 (1977).

        The Trade Association Business Plaintiffs’ members, and the Business Plaintiffs

 themselves as employers covered by the 2024 Rule, have already suffered, and will continue to

 suffer, irreparable harm from the 2024 Rule’s increase in the EAP threshold that took effect on

 July 1, 2024, and they will be likewise harmed if the Rule’s scheduled January 1, 2025 increase is

 allowed to go into effect.

        In addition to their associational standing as described above, each Business Plaintiff has

 organizational standing in its own right sufficient to sustain a challenge to the 2024 Rule, although

 it is only necessary for just one of them to have standing in order to do so. “Only one plaintiff

 needs to have standing for the court to issue relief to all plaintiffs against the same defendant on

 the same legal theory . . . .” Chamber of Commerce of United States v. Consumer Fin. Prot. Bureau,

 2023 U.S. Dist. LEXIS 159398, *13-14 (E.D. Tex. Sept. 8, 2023). See, e.g., Ex. 2, Brubeck

 Decl. ¶¶ 9-12 (setting forth examples of how 2024 Rule has impacted ABC as an employer); Ex.

 6, Wild Decl. ¶¶ 7-10 (setting forth examples of how 2024 Rule has impacted NAW as an

 employer). In addition, the local businesses named as co-plaintiffs clearly have standing to

 challenge the 2024 Rule.



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        In sum, the Business Plaintiffs have both associational and organizational standing to

 challenge all aspects the 2024 Rule, and to seek nationwide relief on behalf of their members and

 themselves.

                                            ARGUMENT

        This case presents purely legal questions of statutory authority and administrative law that

 may be resolved at the summary judgment stage based upon the administrative record before the

 agency. It is well established in this circuit that summary judgment is the way to resolve these

 purely legal issues. See, e.g., Girling Health Care, Inc. v. Shalala, 85 F.3d 211, 214 (5th Cir. 1996)

 (“We have consistently upheld, without comment, the use of summary judgment as a mechanism

 for review of agency decisions.”).

        The Business Plaintiffs are entitled to summary judgment for three related reasons. First,

 as this Court correctly found in granting the preliminary injunction, the Rule’s revision to the

 minimum salary threshold exceeds DOL’s authority. The 2024 Overtime Rule raises the minimum

 salary threshold so high that the new salary threshold is no longer a plausible proxy for the

 categories of employees that Congress intended to exempt. As a result, the exemption is lost for

 millions of salaried EAP employees whose job duties unambiguously qualify them as exempt.

 Second, though not squarely addressed in the Court’s preliminary injunction decision, the 2024

 Overtime Rule exceeds DOL’s regulatory authority under the FLSA by establishing an

 unprecedented “escalator” provision that will dramatically increase the minimum salary threshold

 over time. Third, the 2024 Rule is arbitrary, capricious, and otherwise contrary to law because it

 fails the basic requirements of reasoned decision making imposed by the APA. Finally, the

 Business Plaintiffs explain below why they should be entitled to nationwide relief, vacating the

 2024 Rule pursuant to Section 706 of the APA.



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 I.     The 2024 Overtime Rule’s Minimum Salary Threshold Exceeds DOL’s Statutory
        Authority Under the FLSA in Violation of the APA

        The APA directs a reviewing court to “hold unlawful and set aside agency action . . . in

 excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

 § 706(2)(C). As this Court has correctly recognized, “[c]ourts must exercise their independent

 judgment in deciding whether an agency has acted within its statutory authority.” Slip op. at 12

 (quoting Loper Bright Enters. v. Raimondo, 603 U.S. ---, 2024 WL 3208360, at *6 (June 28,

 2024)). Even where an agency is granted some degree of discretion in interpreting a statute, “the

 role of the reviewing court under the APA is, as always, to independently interpret the statute” and

 ensure that the agency’s decision-making falls within the bounds of its statutory authority. Id.; see

 also Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 91 (2002) (overturning DOL’s

 exercise of rulemaking authority, where agency “exercise[d] its authority in a manner that is

 inconsistent with the administrative structure that Congress enacted into law”); Contender

 Farms, 779 F.3d at 273 (even a “broad grant of general rulemaking authority does not allow [the]

 agency to make amendments to statutory provisions”).

        In granting Texas’s preliminary injunction, this Court properly held that the Department is

 not authorized by the FLSA to promulgate a rule that makes overtime status turn solely on a salary

 threshold that is not a plausible proxy for the job duties of an EAP employee. Slip Op. at 25-26.

 This holding is compelled by the plain language of the FLSA, which states that its overtime

 requirement “shall not apply” to “any employee employed             in a    bona fide executive,

 administrative, or professional capacity.” 29 U.S.C. § 213(a)(l). As recognized by this Court,

 in directing the Department to promulgate standards identifying those employed in an “executive,

 administrative, or professional capacity,” the assignment from Congress is to identify those

 employees who perform executive, administrative, or professional functions. See slip op. at 17

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 (“The plain meaning of these terms makes clear that the proper inquiry into whether someone works

 in an executive administrative, or professional capacity must turn on that person’s functions and

 duties.”). And in Nevada I and II, this Court came to exactly this conclusion. See Nevada I, 218 F.

 Supp. 3d at 529 (“After reading these plain meanings in conjunction with the statute, it is clear

 Congress defined the EAP exemption with regard to duties.”) (emphasis added); Nevada II, 275 F.

 Supp. 3d at 805 (determining same).

         Congress did not authorize DOL to define the EAP exemptions based solely on salary

 thresholds that are not reasonably related to the job functions described by the statute. Indeed,

 since it first interpreted the FLSA, DOL has consistently recognized that its authority “to define

 and delimit” the exemptions for EAP employees requires it to define these exemptions by reference

 to the job functions of employees and that it may not adopt a “salary only” test. See 2016 Overtime

 Rule, 81 Fed. Reg. at 32432-33; id. at 32446 n.84 (a salary only approach is “precluded by the

 FLSA”); see also 69 Fed. Reg. at 22,173 (DOL “does not have authority under the FLSA to adopt

 a ‘salary only’ test . . . . The Department has always maintained that the use of the phrase ‘bona

 fide executive, administrative or professional capacity’ in the statute requires the performance of

 specific duties.”).

         While the Nevada decision acknowledged the Department’s use of a “permissible

  minimum salary level” under the Fifth Circuit’s holding in Wirtz v. Mississippi Publishers Corp.,

  364 F.2d 603, 608 (5th Cir. 1966) (now being revisited by the Fifth Circuit in the Mayfield case),

  it rightly found that the Department’s longstanding policy requires the minimum salary level to

  be used only as a floor to “screen[] out the obviously nonexempt employees, making an analysis

  of duties in such cases unnecessary.” 275 F. Supp. 3d at 806 (citing Harry Weiss, Report and

  Recommendations on Proposed Revisions of Regulations, Part 541, at 7-8 (1949)).



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             When the 2024 Rule is fully implemented, more than four million workers, many of

     whom are employed by the Trade Association Business Plaintiffs’ members, will “without some

     intervening action by their employers, become entitled to overtime protection as a result of the

     combined effect of the initial update and the subsequent application of that new standard salary

     level in this rule.” 89 Fed. Reg. at 32882. In other words, an employee’s duties, functions, tasks,

     and activities will not matter at all below the new salary threshold. Thus, just as in 2017, the

     2024 Rule creates a de facto salary-only test for any employee earning less than $1,128 per

     week—a non-functional litmus test that the DOL has acknowledged Congress did not authorize.

     See, e.g., 81 Fed. Reg. at 32432-33 (salary only approach is “precluded by the FLSA”); 69 Fed.

     Reg. at 22,173 (DOL “does not have authority under the FLSA to adopt a ‘salary only’ test . . .”).

             DOL attempts to justify its disregard for the duties performed by employees earning less

     than $1,128 weekly by asserting that it has “long recognized that the salary level test is a useful

     criterion for helping identify bona fide EAP employees.” 89 Fed. Reg. 32844. But that claim

     cannot be squared with DOL’s own projection that, as a result of the new salary level, at least

     four million employees who meet the standard duties test will be denied the EAP exemption

     within the first year after the Rule takes effect. Id. at 32404, 32393 & 32394. Nor can it be

     squared with DOL’s own estimates of the median incomes in 2023 for various jobs that fall

     squarely within the category of “administrative” positions under the FLSA. For example, DOL

     estimates that the median income for “Preschool and Childcare Center Director” in 2023 was

     $54,290 per year. 9 The median income for “first-line supervisors” in the entertainment and

     recreation industry was $46,040; in the retail sales industry $46,730, and in the security industry



 9
   Bureau of Labor Statistics, U.S. Department of Labor, Occupational Outlook Handbook,
 Preschool and Childcare Directors, available at: https://www.bls.gov/ooh/management/preschool-
 and-childcare-center-directors.htm.
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  sector $54,850 per year. 10 These jobs clearly involve the duties associated with an

  “administrative” position. See e.g., Talbert v. Am. Risk Ins. Co., 405 Fed. Appx. 848, 852 (5th

  Cir. 2010) (assistant claims adjuster earning $32,000 per year deemed exempt). DOL cannot

  plausibly defend its salary test as a “useful criterion” for exempt job duties where its test departs

  so widely from the actual salaries tied to the duties in question.

          In sum, the clear statutory language of the FLSA directs DOL to exempt from overtime

  employees performing “bona fide executive, administrative, or professional” duties. Because

  the 2024 Rule’s salary test would exclude so many employees who perform these functions, it

  fails to perform the task required by the statute and therefore conflicts with the clear mandate of

  the statute. Likewise, because the salary test excludes millions of exempt employees when a

  lower standard coupled with a duties test would more accurately fit the job functions described

  by the statute, the 2024 Rule is not a reasonable interpretation of the FLSA and must be

  permanently vacated.

 II.    The 2024 Overtime Rule’s Automatic Indexing Provision Exceeds the Department’s
        Authority Under the FLSA in Violation of the APA

        As this Court further held in 2017, imposition of an automatic indexing provision exceeds

 the Department’s authority under the Act; and the 2024 Rule must be set aside on this ground as

 well. First, DOL has no authority under the FLSA to put adjustments to the minimum salary

 threshold on auto-pilot. Second, the Department may not adjust the minimum salary thresholds




 10
    Bureau of Labor Statistics, U.S. Department of Labor, Occupational Outlook Handbook, First-
 line Supervisors of Entertainment and Recreation Workers, Except Gambling Services, available
 at: https://www.bls.gov/ooh/about/data-for-occupations-not-covered-in-detail.htm#391014; First-
 Line Supervisors of Retail Sales Workers, available at: https://www.bls.gov/ooh/about/data-for-
 occupations-not-covered-in-detail.htm#411011; First-Line Supervisors of Security Workers, at:
 https://www.bls.gov/ooh/about/data-for-occupations-not-covered-in-detail.htm#331091.
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 without comporting with the notice-and-comment requirements of the APA as specified in the

 FLSA.

         As to the first point, the plain terms of 29 U.S.C. § 213(a)(l) authorize the Secretary of

 Labor to “define[] and delimit[]” the meaning of the “executive, administrative, or professional”

 categories “from time to time by regulations” (emphasis added). To be sure, this authorizes the

 Secretary to revise the regulations setting forth the duties and functions that may legitimately be

 encompassed within a “bona fide executive, administrative, or professional capacity.” But there is

 absolutely no basis to conclude that the automatic revision to the threshold triggered only three

 years from now will have anything to do with changes in duties. To the contrary, the indexing

 provision in the Rule is tied exclusively to a percentile of average salary levels for salaried

 employees, in a specific part the country, regardless of duties. See 89 Fed. Reg. at 32973 (29 C.F.R.

 § 541.607). Thus, the indexing provision in the Rule is wholly unmoored from the functions

 specified in the FLSA that Congress intended to serve as the lodestar for the Secretary to use in

 updating the EAP regulations. As this Court put succinctly, because of the 2024 Rule’s automatic

 indexing, “[O]n July 1, 2027, and every three years thereafter, millions more employees will have

 their statuses changed. Nothing about these employees’ jobs will have changed. Their duties and

 salaries will be identical both before and after the increases. Rather, the only changes determining

 their statuses and making them non-exempt will be increases to the minimum salary level . . . .”

 Slip op. at 23.

         As with the 2024 Rule’s effective imposition of a discredited “salary only” test, here too

 the Department contradicts its prior position and legal conclusions. DOL previously disclaimed

 that it has the authority to use indexing when setting the salary level under the FLSA’s overtime

 provisions. In 2004, DOL stated that adopting automatic increases is “contrary to congressional



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 intent.” 69 Fed. Reg. at 22171-72. “Further, the Department [found] nothing in the legislative or

 regulatory history that would support indexing or automatic increases.” Id. at 22171. And in 2019,

 the Department declined to adopt an automatic indexing provision, citing both its conclusions in

 2004 and the Nevada Court’s invalidation of such a provision. See 84 Fed. Reg. 51251.

        Undeterred by the absence of affirmative statutory authority, the Department now asserts

 that its prior considered view was wrong and that, after all, it may set adjustments to the salary

 threshold on auto-pilot because Congress has failed to expressly prohibit the use of indexing in 29

 U.S.C. § 213(a)(l). See 89 Fed. Reg. at 32857. But this has it exactly backwards. As the Fifth

 Circuit has repeatedly stated, courts “do not merely presume that a power is delegated if Congress

 does not expressly withhold it, as then agencies would enjoy virtually limitless hegemony, a result

 plainly out of keeping with Chevron and quite likely with the Constitution as well.” Contender

 Farms, 779 F.3d at 269 (quoting Texas v. US. Dept. of the Interior, 497 F.3d 491, 503 (5th Cir.

 2007)); accord La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986) (“[A]n agency literally

 has no power to act . . . unless and until Congress confers power upon it.”). Thus, the Department’s

 construction of the FLSA is not entitled to any form of interpretive deference “merely by

 demonstrating that ‘a statute does not expressly negate the existence of a claimed administrative

 power (i.e., when the statute is not written in ‘thou shalt not’ terms).”‘ Id. (quoting Ry. Labor

 Execs.’ Ass’n v. Nat’l Mediation Bd., 29 F.3d 655, 671 (D.C. Cir. 1994) (en banc; emphasis in the

 original)). Surely, “Congress could not have intended to delegate a decision of such economic and

 political significance to an agency in so cryptic a fashion.” FDA v. Brown & Williamson Tobacco

 Corp., 529 U.S. 120, 160 (2000).

        Indeed, Congress clearly knows how to expressly authorize indexing when that is what it

 wants, including in the labor context. See, e.g., 29 U.S.C. § 1083(c)(7)(D)(vii) (indexing amount



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 of excess employee compensation related to “Minimum funding standards for single-employer

 defined benefit pension plans”); see also 16 U.S.C. § 497c(b)(3) (indexing ski area permit rental

 charges); 43 U.S.C. § 1337(a)(3)(C)(vii) (indexing oil and gas leases). But neither 29 U.S.C.

 § 213(a)(l) specifically, nor the FLSA generally, provide indexing for wage rates. Tellingly,

 Congress has not indexed the minimum wage, 29 U.S.C. § 206, the hourly wage for computer

 employees, 29 U.S.C. § 213(a)(l 7), or the annual compensation for “nonprofit parents,” 29

 U.S.C. § 213(b)(24). The absence of express statutory language authorizing indexing in Section

 213(a)(l), especially in light of other provisions elsewhere in the United States Code, firmly

 establishes that Congress never authorized indexing to evade the requirement to define and delimit

 the EAP exemption “from time to time by regulation.”

        The Department’s automatic indexing requirement also violates the APA’s notice and

 comment requirements. 5 U.S.C. § 553(b), (c). The “notice-and-comment provisions of the APA

 enable the agency promulgating a rule to educate itself before establishing rules and procedures

 which have a substantial impact on those regulated.” Global Van Lines, Inc. v. ICC, 714 F.2d

 1290, 1299 n.9 (5th Cir. 1983). The 2024 Overtime Rule’s indexing provision fails to comply with

 the FLSA because it does not follow the requirements of the APA expressly incorporated

 by reference into 29 U.S.C. § 213(a)(l). Under that provision, the only power granted by

 Congress is the authority to define and delimit the exemption “as such terms are defined and

 delimited from time to time by regulations” promulgated by the Secretary and subject to the

 requirements of the APA. 29 USC § 213(a) (emphasis added). 11



 11
   The Department appears to argue that since future updates will use the same (flawed)
 methodology to set the EAP threshold set forth in this regulation, it need not engage in notice-and-
 comment rulemaking for any future increases generated by the automatic escalator provision of
 the rule. See 89 Fed. Reg. 39827. It cites absolutely no authority for this novel proposition, which
 in any case is undone by the text of the statute. “Statutory construction begins with the language
                                                 21
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        By design, the 2024 Overtime Rule’s indexing provision forces the salary level test to

 automatically adjust every three years, while evading notice and comment on the change. The

 DOL has not hidden its desire to dispense with “difficulty with updating the earnings thresholds”

 as frequently as it would by indexing the salary level test. 89 Fed. Reg. at 32858. But the APA’s

 notice and comment provisions must be followed regardless of whether an agency finds them

 “difficult.” See U.S. Steel Corp. v. EPA, 595 F.2d 207, 214 (5th Cir. 1979) (discussing 5 U.S.C.

 § 553(b)(B)). Any increase in the salary level must be based upon the comments submitted and

 the facts and information existent at the time of the increase. Id. DOL cannot lawfully put the

 salary level test on auto-pilot and effectively immunize itself from the procedural obligations of

 the APA.

        Where, as here, an agency has reversed longstanding regulatory policy, the Supreme Court

 has made clear that the agency is required to acknowledge, explain and justify its reversal, and

 such explanation must take into account the strong reliance interests of the regulated community

 concerning the original regulation. See Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117

 (2016) (vacating DOL’s reversal of policy with regard to “service advisors” exemption from

 FLSA’s overtime requirements); see also Util. Air Reg. Grp. v. EPA, 134 S. Ct. 2427, 2446 (2014)

 (“[A]n agency may not rewrite clear statutory terms to suit its own sense of how the statute should

 operate.”). DOL has made no credible effort to do so. The automatic escalator provision of the

 2024 Rule must be set aside.




 of the statute, ‘the specific context in which the language is used, and the broader context of the
 statute as a whole.’” Nevada I, 218 F. Supp. 3d at 528 (citing Robinson v. Shell Oil Co., 519 U.S.
 337, 341 (1997)).
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 III.   The 2024 Overtime Rule Is Arbitrary, Capricious, or Otherwise Contrary to Law in
        Violation of the APA

        Under the APA, a court shall hold unlawful and set aside agency action that is “arbitrary,

 capricious . . . or otherwise contrary to law.” 5 U.S.C. § 706(2)(A). Agency action is arbitrary

 and capricious “if the agency has relied on factors which Congress has not intended it to consider,

 entirely failed to consider an important aspect of the problem, offered an explanation for its

 decision that runs counter to the evidence before the agency, or is so implausible that it could not

 be ascribed to a difference in view or the product of agency expertise.” Luminant Generation Co.

 v. EPA, 675 F.3d 917, 925 (5th Cir. 2012). “[S]ignificant and viable alternatives” to a proposed

 regulatory action must be considered, 10 Ring Precision, Inc. v. Jones, 722 F.3d 711, 724 (5th

 Cir. 2013) (quotation marks omitted), and the agency must articulate a “satisfactory explanation

 for its action including a rational connection between the facts found and the choice made.” Motor

 Vehicle Mfrs. Assoc. of US., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)

 (quotation marks omitted). If it fails to “cogently explain why it has exercised its discretion in a

 given manner,” its action will be invalidated. Id. at 48.

        The 2024 Overtime Rule is arbitrary and capricious for multiple reasons.

        First, where an agency has reversed longstanding regulatory policy, the Supreme Court has

 made clear that the agency is required to acknowledge, explain and justify its reversal, and such

 explanation must take into account the strong reliance interests of the regulated community

 concerning the original regulation. See Encino Motorcars, 136 S. Ct. at 2125-26 (vacating DOL’s

 reversal of policy with regard to the “service advisors” exemption from the FLSA’s overtime

 requirements). Here, DOL failed to provide a reasoned explanation, consistent with this Court’s prior

 holdings and Congress’s expressed intentions in the FLSA, for dramatically increasing the minimum

 salary standard to a level that will exclude a high percentage of all salaried employees nationally,


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 regardless of job duties, geographic area, or size of business. To the extent that DOL acknowledged at

 all the regulatory change imposed by the 2024 Rule, the agency improperly minimized its departure

 from decades of precedent, this Court’s orders, and Congressional intent.

         The Department likewise acted arbitrarily, capriciously, and otherwise not in accordance with

 the law by increasing the HCE exemption almost 41%, increasing the gap in real dollars between the

 standard exemption and the HCE exemption from almost $72,000 to nearly $93,000. Increasing the gap

 between the standard salary threshold and the HCE threshold will require employers to dedicate

 significant resources on administrative, human resources, and legal efforts to determine more precisely

 whether an employee is exempt under to the HCE exemption. Employers will be burdened with

 reviewing the basis on which each such employee was accorded exempt status, including employees

 for whom the exempt status decision was made a decade ago and who may be among the most highly

 paid employees in the company. As a result, regional variations within the same business may result in

 different employees in the same classification being afforded different exempt-status based almost

 entirely upon the location in which they work. Moreover, when HCE employees must be reclassified as

 non-exempt, the issues associated with reclassification are compounded by the increased compensation

 level and status of such positions in the business, as these employees are likely to have various levels of

 advanced education and have come to expect to be treated as salaried professionals. Each of these facts

 were made clear to the Department during the rulemaking process, see Ex. 3, Attachment J, Partnership

 to Protect Workplace Opportunity Comments at 11-12. The 2024 Rule unlawfully fails to meaningfully

 analyze or address these tangible and intangible costs to employers. See, e.g., Ohio v. EPA, 603 U.S. --

 -, 2024 WL 3187768, at *8 (June 27, 2024) (agency’s failure to address significant concern raised in

 notice and comment period renders final rule arbitrary and capricious).




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         As described in detail above, the Rule disregards decades of regulatory and judicial precedent

 holding that the white collar exemption turned on the job functions defined in the FLSA. Yet DOL

 failed to meaningfully address this shift. Furthermore, it is apparent from the preamble to the Rule that

 DOL relied on factors that Congress did not intend for it to consider, specifically by excluding far more

 than the “obviously non-exempt employees” and instead excluding, based on their salary alone, four

 million employees who are “employed in a bona fide executive, administrative, or professional

 capacity” who are performing bona fide exempt job duties. 89 Fed. Reg. at 32843-20. DOL likewise

 based its new 35th percentile salary standard on grounds that run counter to the evidence before the

 agency, specifically the false claim that the current salary threshold was improperly paired with the

 obsolete long duties test. See 89 Fed. Reg. at 32848.

         Second, and relatedly, the 2024 Overtime Rule fails to consider the strong reliance interests of

 the regulated community, which is comprised of hundreds of thousands of employers across the country

 whose business models have been built on the consistently-applied salary levels for exempt status

 established over the past 75 years. The methodology of the 2024 Rule increases the historical benchmark

 applied almost universally in the past by 75 percent, raising the 20th percentile threshold applied in the

 past, see supra, to the 35th percentile as of 2025 and thereafter. Encino Motorcars, LLC, 136 S. Ct. at

 2125-26 (“In explaining its changed position, an agency must . . . be cognizant that longstanding policies

 may have engendered serious reliance interests that must be taken into account . . . . [A] reasoned

 explanation is needed for disregarding facts and circumstances that underlay or were engendered by the

 prior policy.”). As noted in the Undisputed Facts ¶14, supra, comments filed by the Trade Association

 Business Plaintiffs and their members discussed the disruptive aspects of the proposed Rule.12



 12
    See, e.g., Ex. 1, Attachment B, AHLA Comments at 3 (increased cost of proposed rule “would
 likely force hospitality businesses across the country to reclassify at least 35% of the workforce
 from salaried to hourly, eliminate middle management positions, cut workers’ hours, consolidate
                                                    25
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        Third, the arbitrary and capricious nature of the Rule is further exposed by DOL’s treatment

 of bonuses, incentives, and commissions. The Rule allows employers to satisfy only up to ten

 percent of the minimum salary level with nondiscretionary bonuses, incentives, and commissions,

 and only if such payments are made annually or more frequently. And the Rule further excludes

 nondiscretionary bonuses, incentives and commissions paid less frequently than quarterly and

 other types of compensation (e.g., discretionary bonuses, profit-sharing, stock options, employer-

 funded retirement benefit, deferred compensation). Yet such distinctions bear no rational

 relationship to the statutory task of defining exempt job functions. Non-discretionary bonuses and

 incentive pay are all part of an employee’s compensation package and do not demonstrate that the

 functions performed by the employee are any less compatible with the job functions defined by

 the statute. An employee earning in excess of the new salary threshold including a 20 percent non-

 discretionary bonus is no less likely to be performing non-exempt tasks than an employee earning

 only a 10 percent bonus. For these reasons as well, the 2024 Overtime Rule is arbitrary and

 capricious, and should be held unlawful and set aside.




 jobs, and create considerable upward pressure across the entire party scale”), Ex. 4, Attachment C,
 NACS Comments at 1-2 (noting how proposed salary threshold exceeds weighted mean salary of
 first- and second-line managerial employees); Ex. 6, Attachment A, NAW Comments at 2-3
 (detailing harmful impacts proposed Rule has on NAW members), Ex. 7, Attachment B, NFIB
 Comments at 5 (explaining particular adverse impacts on small businesses); see also Ex. 1, Shah
 Declaration, at ¶ 6 (explaining how 2024 Rule’s EAP threshold exceeds median annual wages of
 first-line supervisors of housekeeping and janitorial workers); Ex. 4, Attachment C, NACS
 Comments at 1-2 (noting how proposed salary threshold exceeded weighted mean salary of first-
 and second-line managerial employees); Ex. 9, Amador Declaration ¶¶ 29-33 (showing how 2024
 Rule’s EAP salary threshold compares to mean wages across the country) & Attachment A, RLC
 Comments at 5 (explaining how proposed salary threshold would exceed median basis salary for
 crew and shift supervisors and many restaurant managers).
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 IV.     The 2024 Rule Must Be Vacated Pursuant to APA Section 706 and/or Enjoined on a
         Nationwide Basis

         Section 706 of the APA provides that a reviewing court “shall . . . hold unlawful and set

 aside agency action, findings, and conclusions found to be arbitrary, capricious, an abuse of

 discretion, or otherwise not in accordance with the law; [or] in excess of statutory jurisdiction,

 authority, or limitations . . . .” 5 U.S.C. § 706(2)(A), (C) (emphasis added). Section 706 is more

 prescriptive than Section 705, which addresses only interim relief during the pendency of an APA

 challenge.

         With respect to the final adjudication on the merits of an APA claim, the Fifth Circuit has

 recognized, under section 706 of the APA, that when a court holds an agency rule violates the

 APA, it ‘“shall’—not may—‘hold unlawful and set aside’ [the] agency action.” Nat’l Ass’n of

 Priv. Fund Managers v. SEC, 103 F.4th 1097, 1114 (5th Cir. 2024) (citation omitted); see also,

 e.g., Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368, 374 (5th Cir. 2022) (“Vacatur is the only

 statutorily prescribed remedy for a successful APA challenge to a regulation.”); Data Mktg. P’ship,

 LP v. DOL, 45 F.4th 846, 859 (5th Cir. 2022) (vacatur is not only the “proper remedy,” but the

 “default” one). Indeed, as this Court itself recognized, Section 706 is the “default remedy for

 unlawful agency action,” and has “nationwide effect, is not party-restricted, and affects persons in

 all judicial districts equally.” Slip op. at 32 n.28 (citing Braidwood Mgmt., Inc. v. Becerra, --- F.4th

 ---, 2024 WL 3079340, at *13-14 (5th Cir. June 21, 2024)).13 See also Career Colleges & Schools


 13
    The Fifth Circuit declined to uphold the lower court’s vacatur of the subject rule in Braidwood
 only because plaintiffs there had not alleged a violation of the APA. See 2024 WL 3079340, at
 *13 (discussing and quoting Deanda v. Becerra, 96 F.4th 750, 755 (5th Cir. 2024) (“We know of
 no authority . . . authorizing a court to vacate a regulation under 706(2) in the absence of an APA
 claim.”)). Additionally, the request for vacatur in Braidwood was “never pleaded” and came at
 “the last stage of proceedings.” Id. That is in stark contrast to this case, in which Business Plaintiffs
 have sought Section 706 vacatur ab initio, see Complaint ¶ 69, and have consistently argued that
 DOL’s actions were in violation of the APA and that the 2024 Rule should be vacated in its
 entirety.
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 of Texas v. U.S. Dep’t of Educ., 98 F.4th 220, 255 (5th Cir. 2024) (noting Section 706 is “not party-

 restricted and allows a court to ‘set aside’ an unlawful agency action”) (citation omitted); id.

 (discussing U.S. Supreme Court stay of Clean Power Plan without party limitation in West Virginia

 v. EPA, 577 U.S. 1126 (2016) and Fifth Circuit stay of OSHA vaccine mandate without party

 limitation in BST Holdings, LLC v. OSHA, 17 F.4th 604 (5th Cir. 2021)).

        In addition to its power to vacate the 2024 Rule pursuant to Section 706 of the APA, this

 Court has jurisdiction to enter an injunction prohibiting DOL from enforcing the Rule on a

 nationwide basis. See Texas v. United States, 809 F.3d 134, 188 (5th Cir. 2015) (“[T]he

 Constitution vests the District Court with ‘the judicial Power of the United States.’ That power is

 not limited to the district wherein the court sits but extends across the country. It is not beyond the

 power of a court, in appropriate circumstances, to issue a nationwide injunction.” (citations

 omitted)). And courts within the Fifth Circuit have concluded that a nationwide injunction is

 appropriate where a plaintiff brings a facial challenge to a final rule that exceeds the agency’s

 authority and violates the APA. See, e.g., Chamber of Commerce of the U.S. v. NLRB, No. 6:23-

 cv-00553, 2024 WL 1203056 (Mar. 8, 2024) (vacating NLRB rule challenged by national trade

 association because “‘vacatur of an agency action is the default rule’ in the Fifth Circuit when it is

 found to be discordant with the law or arbitrary and capricious” (citing Cargill v. Garland, 57

 F.4th 447, 472 (5th Cir.) (en banc) (2023), affirmed, 602 U.S. 406 (2024)); Associated General

 Contractors v. U.S. Dep’t of Labor, Civ. Action No. 5:23-cv-00272 (N.D. Tex. June 24, 2024)

 (granting nationwide injunctive relief where plaintiff trade association was likely to succeed on

 the merits of its claim that challenged DOL regulation under Davis-Bacon Act was in excess of

 the Department’s authority).




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         Such an approach would comport with the Nevada Court’s treatment of the unlawful 2016

 Overtime Rule which granted injunctive and final relief on a nationwide basis. The Nevada Court

 first preliminarily enjoined the 2016 Rule on a nationwide basis, holding that “[a] nationwide

 injunction is proper in this case,” because the irreparable injury caused by the Rule extended

 nationwide. Nevada I, 218 F. Supp. 3d at 534. As the court further explained, “A nationwide

 injunction protects both employees and employers from being subject to different EAP exemptions

 based on location.” Id. With respect to final judgment, the Nevada II Court, recognizing that

 “Business Plaintiffs [were] local, state, or national trade associations representing hundreds of

 thousands of employers throughout the country,” 275 F. Supp. 3d at 800, declared the 2016 Rule

 “invalid” in all respects to all parties subject to it. Id. at 808.

         This Court should readily come to the same conclusion as the Nevada Court. The Business

 Plaintiffs now, as then, represent hundreds of thousands of employers employing millions of

 employees throughout Texas and the United States. They have adduced undisputed evidence of

 harm to their members throughout the country as well as to themselves as employers. See, e.g.,

 Undisputed Facts ¶14, Exs. 1-9 & attachments (demonstrating harm to Trade Association Business

 Plaintiffs and their members). Insofar as the Business Plaintiffs represent hundreds of thousands

 of employer members employing millions of employees in in all fifty states, a nationwide

 injunction and vacatur of the 2024 Rule is the only means of affording Business Plaintiffs and their

 members complete relief. 14



 14
   Indeed, as a matter of economic reality, nationwide relief is necessary to afford the Business
 Plaintiffs the relief to which they are entitled. Enjoining enforcement of the 2024 Rule against
 some employers (e.g., Trade Association Business Plaintiffs’ members) but not others would
 ignore the fact that if businesses who are subject to the Rule are required to increase their
 employees’ salaries to maintain their exempt status, employers as to whom enforcement of the
 Rule is enjoined would be likewise forced to raise their employees’ salaries as a matter of economic
 competitiveness, thus rendering the injunctive relief they obtained ineffective.
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                                          CONCLUSION

        For each of the reasons set forth above, the Business Plaintiffs respectfully request that the

 Court grant this motion for expedited summary judgment on all counts of their Complaint; hold

 the 2024 Overtime Rule unlawful; vacate and set aside the 2024 Overtime Rule pursuant to 5

 U.S.C. § 706; permanently enjoin the Department from enforcing the 2024 Rule on a nationwide

 basis; and grant such other relief as is necessary and proper.

 Dated: July 18, 2024                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2024, the foregoing Motion for Summary Judgment was

 electronically filed in the above and foregoing with the Clerk of the Court, utilizing the ECF

 system, which sent notification of such filing to all noticed counsel for Plaintiff State of Texas and

 for Defendants.


                                                       /s/ Maurice Baskin
                                                       Maurice Baskin




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